
MAGER, Judge
(concurring specially):
This court’s affirmance of the trial court’s final judgment dismissing the appellant’s amended complaint is consistent with the pronouncement set forth in Canell v. Areola Housing Corp., 65 So.2d 849 (Fla.1953). Although I concur with the decision reached herein I disagree somewhat with the trial court’s gratuitous observation in his final judgment that “the existing substantive law in the State of Florida leave the Plaintiffs herein without recourse or remedy in the Courts”. While *794that may be true insofar as it concerns an action for damages predicated upon an oral agreement to create an easement or interest in land, I am not so certain that an action for specific performance even where the agreement is of an oral character would necessarily be barred by the statute of frauds. See 29A Fla.Jur., Specific Performance, sections 27-32. It is interesting to note that while the original complaint filed below sought specific performance and damages based upon fraud and deceit, the amended complaint sought damages only. Accordingly, the action of the trial judge was correct and should be affirmed.
